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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
  ____________________________________
  LILA WILSON, MATTHEW                    :
  MARTINO, THOMAS WILSON,                 :     CASE NO: 17-23033-CV-SCOLA
  TERESA GARELLA, MARY BLUE,              :
  RYAN BROWN, BRIAN MAYTUM,               :
  LEIGH GLASBAND,                         :
  NICK PANOPOULOS, CARISSA                :
  MACCHIONE, SYDNEE JOHNSON,              :
  JORGE CRUZ, DEBBIE GRAY,                :
  LORNE SPELREM, & ISMAEL                 :
  ORRANTIA,                               :
  on behalf of themselves and all others  :
  similarly situated,                     :
                                          :
         Plaintiffs,                      :
                                          :
                 v.                       :
                                          :
  VOLKSWAGEN GROUP OF                     :
  AMERICA, INC. and Volkswagen AG, :
                                          :
         Defendants.                      :
  ____________________________________:

                     THE PLAINTIFFS’ RESPONSE IN OPPOSITION
                     TO THE DEFENDANT’S MOTION TO DISMISS
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                                             Introduction
         A car‟s suspension system connects its wheels to the road at specified angles—called
  “specifications”—to ensure safe handling and tire control. ECF 26 at ¶¶ 9-11. “Camber” is one
  of these alignment specifications and refers to the angle at which the car‟s tires slant away from
  the vertical axis when viewed from the front or back of the car. Id. ¶ 13. Cars driven with
  incorrect camber develop improper and accelerated tire wear, which is a serious safety hazard.
  Id. ¶¶ 14-17. All Volkswagen CCs develop an incorrect camber, either as soon as they roll off
  the assembly line or through normal use. Id. ¶¶ 20-21. Thus, properly functioning suspension
  components would allow technicians to adjust the CCs‟ camber to get them back into proper
  alignment. Id. ¶ 18. The CCs‟ suspension components, however, are defective because they do
  not allow technicians to make the necessary adjustments to the car‟s camber (the “Defect”). Id. ¶
  19. As a result, CCs develop improper and accelerated tire wear, which cannot be fixed simply
  by replacing the cars‟ tires. Id. ¶¶ 22-23. Although Volkswagen has refused to offer any solution
  to this problem, the Defect can be permanently fixed by, for example, removing the CCs‟
  existing control arm assemblies and replacing them with readily-available, after-market
  assemblies that allow for the necessary adjustments. Id. ¶¶ 26-28. In short, all Volkswagen CCs
  suffer from a Defect that causes their tires to wear out after a few thousand miles, creating both
  serious safety risks and a substantial diminution in the cars‟ value. Id. ¶¶ 9-23.
         But, despite knowing about the Defect since 2010—at the latest—the Defendant,
  Volkswagen of America Group, Inc. (“Volkswagen”), has refused to acknowledge it or to
  authorize its dealers to make the easy repairs that would fix it. Id. ¶¶ 30, 32. Instead, Volkswagen
  ordered its dealers to lie about the Defect and forced CC owners, including the Plaintiffs, to pay
  out-of-pocket for tire repairs that, on the one hand, should have been covered by Volkswagen‟s
  warranty (the “NVLW”) and, on the other, do not actually fix the problem. Id. ¶¶ 24-38.
         Volkswagen concedes that some of the Plaintiffs have adequately pled implied warranty
  claims, but it nevertheless asks this Court to dismiss the remaining Plaintiffs‟ implied warranty
  claims, as well as all of the Plaintiffs‟ express warranty, fraud, and consumer protection claims.
  In doing so, however, Volkswagen ignores the Amended Complaint; draws inferences against,




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  rather than in favor of, the Plaintiffs; and seeks to impose upon the Plaintiffs legal requirements
  that do not exist. Its motion should be denied.1
                                              Argument2
      I.      The Plaintiffs’ Warranty Claims
           A. The Plaintiffs have adequately alleged their express warranty claims
           Volkswagen contends that the Plaintiffs‟ express warranty claims should be dismissed
  because the Plaintiffs have not identified a defect in “material and workmanship” that would be
  covered by the NVLW. ECF 34 at 3. But this Court should not, on a motion to dismiss—and
  prior to the taking of any discovery—indulge Volkswagen‟s invitation to make factual findings
  on whether the Defect is, or is not, a defect in material and workmanship. See Bailey v. Janssen
  Pharmaceutica, Inc., 288 F. App‟x 597, 605 (11th Cir. 2008) (holding that a party is not required
  “to know with specificity before discovery what was the likely source of the defect”).3 Instead,
  because the Plaintiffs allege that the CCs suffer from a defect in “parts and workmanship,” ECF
  26 at ¶ 31,4 this Court should reject, at this early stage, Volkswagen‟s argument that the Defect is
  not covered by the NVLW.5

  1
     When considering a motion to dismiss, this Court must accept the complaint‟s factual
  allegations as true, construing them in the light most favorable to the Plaintiffs and drawing all
  reasonable inferences in the Plaintiffs‟ favor. Heuer v. Nissan N. Am., Inc., No. 17-CV-60018-
  Scola, 2017 WL 3475063, at *3 (S.D. Fla. 2017).
  2
    We agree with Volkswagen that each Plaintiff is entitled to invoke the laws of his or her home
  state. ECF 34 at 3. But each Plaintiff is also entitled to the protections of the Virginia Consumer
  Protection Act (“VCPA”), Va. Code Ann. § 59.1-196, et seq. See In re Volkswagen “Clean
  Diesel” Litig., 94 Va. Cir. 189, at *9-11 (2016). In Clean Diesel, Volkswagen argued, as it does
  here, that each plaintiff‟s claims were governed only by the law of the state in which he or she
  had purchased the car. Id. The court disagreed and held that, “unlike a tort claim such as fraud,
  nothing in the VCPA requires that a violation by a Virginia company involve a transaction taking
  place in the Commonwealth.” Id. at *11.
  3
    Accord Grasso v. Electrolux Home Prods., No. 15-CV-20774-Scola, 2015 U.S. Dist. LEXIS
  119015, at *6 (S.D. Fla. 2015) (refusing to determine, at the pleadings stage, whether the alleged
  defect involved a design defect); Alin v. Am. Honda Motor Co., Inc., 08-CV-4825, 2010 WL
  1372308, at *6 (D.N.J. Mar. 31, 2010) (“At the pleading stage, where the distinction between
  defect in design and defect in materials or workmanship is a matter of semantics, and sufficient
  facts are alleged to assert both, the defendant's characterization of the nature of the claim pre-
  discovery should not control whether the complaint survives.”).
  4
    The Plaintiffs, it is true, also allege that the CCs suffer from a common design defect. But the
  Federal Rules permit the Plaintiffs to assert alternative theories of liability. See Fed. R. Civ. P.
  8(e)(2); see also Benefield v. Pfizer Inc., 103 F. Supp. 3d 449, 463 (S.D.N.Y. 2015) (“There is
  nothing inconsistent in pleading claims for both design defect and manufacturing defect: a
                                                     2
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         Moreover, Volkswagen glosses over the fact that its NVLW never actually excludes
  design defects from the universe of defects it covers. For example, in a section entitled “What is
  Not Covered,” the NVLW sets out a long litany of things that are excluded from its protections.
  ECF 34-1 at 11-12, 60-61, 121-22, 171-72, 226-27, 278. Design defects, however, are never
  mentioned. Under the canon of expressio unius est exclusio alterius, this Court should presume
  that the NVLW‟s specific exclusion of certain defects works an implicit inclusion of other,
  unmentioned defects—viz. defects in design. See Sanchez-Knutson v. Ford Motor Co., 52 F.
  Supp. 3d 1223, 1232 (S.D. Fla. 2014) (“Additionally, the list in the „what is not covered‟ section
  does not state that design defects are not covered. The Court concludes that design defects are
  covered by Ford‟s express warranty.”) (citation omitted). And, even if the NVLW‟s specific
  inclusion of a “material and workmanship” warranty created some ambiguity in this respect, that
  ambiguity should be construed against Volkswagen. See Citro Florida, Inc. v. Citrovale, S.A.,
  760 F.2d 1231, 1232 (11th Cir. 1985); Sanchez-Knutson, 52 F. Supp. 3d at 1232; accord 16
  C.F.R. § 701.3(a)(2) (stating that a written warranty must include “in simple and readily
  understood language, the following items of information: . . . A clear description and
  identification of products, or parts, or characteristics, or components or properties . . . excluded
  from the warranty”).
         In any case, the Plaintiffs have also alleged that Volkswagen provided them with an
  express warranty outside of the NVLW. Under Section 2-313(1)(a) of the U.C.C., “any
  affirmation of fact or promise made by the seller to the buyer which relates to the goods and
  becomes part of the basis of the bargain creates an express warranty that the good shall conform
  to the affirmation or promise.” And, in the warranty booklet, Volkswagen made the following

  plaintiff is permitted to advance alternative theories of liability for a defendant‟s allegedly
  wrongful conduct.”). More importantly, the Plaintiffs have not conceded that the CCs‟
  components in fact comport with Volkswagen‟s design—such a concession would be impossible
  without the benefit of discovery—and the Court should not resolve this factual question now.
  5
    What Volkswagen does not tell this Court is that it tried—and lost—this same argument in a
  nationwide class action just last year. See In re Volkswagen Timing Chain Prod. Liability Litig.,
  No. 16-CV-2765, 2017 WL 1902160 (D.N.J. May 8, 2017). In that case, the plaintiffs sued
  Volkswagen over a defective timing chain. In its motion to dismiss the plaintiffs‟ express
  warranty claims, Volkswagen argued that the plaintiffs complained of a “design defect” that was
  not covered by the Warranty. Id. at *12. The court rejected Volkswagen‟s argument as both too
  fact-intensive for the motion-to-dismiss stage and inconsistent with the plaintiffs‟ allegations,
  which identified how specific components of the timing chain system were defective. Id. There is
  no reason for the Court to reach a different result here.
                                                   3
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  guarantee: “With proper maintenance and care, your Volkswagen model will continue to provide
  you with a dependable and safe driving experience.” ECF 26 at ¶ 236. Relying on U.C.C. § 2-
  313(1)(a), state and federal courts across the country have consistently interpreted similar
  guarantees as creating an express warranty. See, e.g., Bell Sports Inc. v. Yarusso, 759 A.2d 582,
  592-93 (Del. 2000).6 This Court should follow those decisions here. Moreover, because
  Volkswagen extended this guarantee in the warranty booklet itself, it necessarily was part of the
  “basis of the bargain” under U.C.C. § 2-313(1)(a). See Norcold, Inc. v. Gateway Supply Co., 798
  N.E.2d 618, 623-24 (Ohio Ct. App. 2003). Likewise, any effort Volkswagen may have made
  elsewhere in the warranty booklet to disclaim this warranty is ineffective. See, e.g., Oliver, 2015
  WL 3938633, at *11 (“[U]nder U.C.C. § 2-316, a warranty disclaimer inconsistent with an
  express warranty is inoperative.”).
         B. The Louisiana Plaintiff’s claim for breach of express warranty is viable
         Volkswagen correctly notes that Louisiana warranty claims must be asserted under
  Louisiana‟s redhibition statute. See In re Ford Motor Co. Ignition Switch Prod. Liab. Litig., No.
  96-CV-1814, 2001 WL 1266317, at *15 (D.N.J. 1997). But Louisiana law is clear that a
  plaintiff‟s failure to bring an express warranty claim under the redhibition statute does not
  warrant dismissal where, as here, the complaint avers that, had she known of the defect, the
  plaintiff would not have purchased the car. Id. (holding that, although complaint did not
  specifically mention the redhibition statute, plaintiffs‟ allegation that the “defect render[ed] their
  [] vehicles so imperfect that plaintiffs would not have purchased their cars if they had known of
  the defect” was sufficient to survive motion to dismiss). Because the Louisiana Plaintiff has
  alleged precisely that, ECF 26 at ¶¶ 310, 469, this Court should deny Volkswagen‟s motion to
  dismiss.
         C. The Plaintiffs’ implied warranties have not expired
         Volkswagen breached the implied warranty of merchantability by manufacturing and
  selling defective vehicles. ECF 26 at ¶¶ 9-23. The Amended Complaint alleges that Volkswagen

  6
    Accord Jensen v. Seigel Mobile Homes Grp., 105 Idaho 189, 668 P.2d 65, 71-72 (1983);
  Kinlaw v. Long Mfg. N.C., Inc., 298 N.C. 494, 259 S.E.2d 552, 557 (1979); Hawkins Constr. Co.
  v. Matthews Co., 190 Neb. 546, 209 N.W.2d 643, 654-55 (1973); Oliver v. Funai Corp., Inc.,
  No. 14-CV-04532, 2015 WL 3938633, at *10-11 (D.N.J. 2015); Fire Ins. Exch. v. Electrolux
  Home Prods., No. 05-CV-70965, 2006 WL 2925286, at *5-6 (E.D. Mich. 2006); Rinehart v.
  Sonitrol of Dallas, Inc., 620 S.W.2d 660, 661-63 (Tex. App.—Dallas 1981); Mittasch v. Sea
  Lock Burial Vault, Inc., 42 A.D.2d 573, 573-74 (N.Y. App. Div. 1973).
                                                    4
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  knew about the Defect and, through its own representations to its authorized dealers, actively
  concealed it. Id. ¶¶ 24-38, 203, 208, 212, 216, 224-25, 228-37. Based on these allegations,
  Volkswagen concedes that most of the Plaintiffs have asserted viable implied warranty claims
  and seeks dismissal only of the Missouri, North Carolina, Georgia, and Arizona claims on the
  grounds that (1) the NVLW effectively limited the implied warranties to the NVLW‟s 3
  year/36,000-mile express warranty period, and (2) these Plaintiffs purchased their cars—or their
  defects manifested—outside of that warranty period. ECF 34 at 7. Here, again, Volkswagen
  ignores the Amended Complaint and misstates the law.
         To begin with, a seller may limit the duration of an implied warranty only “if such
  limitation is conscionable.” 15 U.S.C. § 2308(b). The Plaintiffs have adequately pled that
  Volkswagen‟s warranty limitations are unconscionable and therefore unenforceable. ECF 26 at
  ¶¶ 247-49. The federal courts have routinely held that the question of whether a warranty is
  unconscionable is a question of fact inappropriate for resolution at the pleading stage. See, e.g.,
  Carlson v. Gen. Motors Corp., 883 F.2d 287, 293 (4th Cir. 1989); Bussian v. DaimlerChrysler
  Corp., 411 F. Supp. 2d 614, 623 (M.D.N.C. 2006). The Court should deny Volkswagen‟s motion
  on this basis alone.
         In any case, a manufacturer‟s knowledge of a defect at the time of sale is the most
  significant factor in determining whether a warranty‟s durational limitations are unconscionable.
  See Carlson, 883 F.2d at 294; McCabe v. Daimler AG, 948 F. Supp. 2d 1347, 1359 (N.D. Ga.
  2013); Bussian, 411 F. Supp. 2d at 622; Barnext Offshore, Ltd. v. Ferretti Grp. USA, Inc., No.
  10-CV-23869, 2012 WL 1570057, at *10-11 (S.D. Fla. 2012). As we discuss in detail below, see
  § II.A., infra, the Plaintiffs have alleged extensive and specific facts from which Volkswagen‟s
  knowledge of the Defect can be reasonably inferred. See, e.g., ECF 26 at ¶ 249. In response,
  Volkswagen cites to McCabe for the proposition that a manufacturer‟s “knowledge of the alleged
  defect at the time of sale, standing alone, is insufficient to render the NVLW‟s time and mileage
  limitations unconscionable.” ECF 34 at 9 (emphasis added). But other courts have disagreed,
  holding that a manufacturer‟s knowledge, standing alone, is sufficient to render a warranty‟s
  time and mileage limitations unconscionable. In re Samsung DLP TV Class Action Litig., No. 07-
  CV-2141, 2009 WL 3584352, at *4-5 (D.N.J. 2009); Payne v. Fujifilm U.S.A., Inc., No. 07-CV-
  385, 2007 WL 4591281, at *4-5 (D.N.J. 2007).



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         Even if knowledge were, as Volkswagen suggests, insufficient on its own to support a
  finding of unconscionability, the Plaintiffs‟ allegations support a reasonable inference that all of
  the other factors relevant to the question of unconscionability weigh strongly in favor of the
  Plaintiffs here. For instance, the Amended Complaint avers that (1) CC buyers lacked notice of
  the Defect or an opportunity to discover it prior to the sale, ECF 26 at ¶ 249; (2) Volkswagen
  knew that CC buyers would have to cover the costs of repairing the Defect, id. ¶¶ 24, 31, 32, 38;
  and (3) Volkswagen knew that the Defect would likely limit the CCs‟ intended use—by, for
  example, rendering them unsafe, id. ¶¶ 14-17, 19-23, 24, 28-29, 249. See Carlson, 883 F.2d at
  294-96; In re Porsche Cars, 880 F. Supp. 2d at 822. The Plaintiffs, in short, have done far more
  than plead mere knowledge here. Porsche, 880 F. Supp. 2d at 824.7
         Volkswagen‟s contention that the implied warranties of the Missouri, Arizona, Georgia,
  and North Carolina Plaintiffs expired because those Plaintiffs did not seek tire replacements
  within the applicable warranty period fares little better. ECF 34 at 7. Under the laws of these four
  states, the “pertinent time period in determining merchantability of the goods is at the time of the
  sale.” Plunk v. Hedrick Concrete Prods. Corp., 870 S.W.2d 942, 946 (Mo. App. 1987); Dietz v.
  Waller, 141 Ariz. 107, 112 (1984); Soto v. CarMax Auto Superstores, Inc., 271 Ga. App. 813,
  814-15 (2005); DeWitt v. Eveready Battery Co., 355 N.C. 672, 683 (2002). Because the
  Missouri, Arizona, Georgia, and North Carolina Plaintiffs have alleged that their CCs were
  defective at the time they were sold, ECF 26 at ¶¶ 113, 138, 319-20, 507, those defects
  necessarily manifested within—rather than outside of—the warranty period.8


  7
    Volkswagen also argues that the Plaintiffs cannot meet the standard for unconscionability
  because they could have purchased a different model vehicle. ECF 34 at 8. But that is not the
  standard for unconscionability, particularly where, as here, a manufacturer knowingly concealed
  a defect and thereby prevented the buyer from discovering it within the warranty period. See,
  e.g., Skeen v. BMW of N.A., LLC., No. 13-CV-1531, 2014 WL 2833628, at *15 (D.N.J. 2014).
  8
    Volkswagen cites two cases for its position that the Missouri, Arizona, Georgia, and North
  Carolina Plaintiffs‟ warranties have expired. ECF 34 at 7 (citing Brisson v. Ford Motor Co., 602
  F. Supp. 2d 1227 (M.D. Fla. 2009) and Speier-Roche v. Volkswagen Grp. of America, Inc., No.
  14-20107-CIV, 2014 WL 1745050 (S.D. Fla. Apr. 30, 2014)). But both cases applied Florida—
  rather than Missouri, Arizona, Georgia, or North Carolina—law. More importantly, neither case
  provides any analysis of the issue. Speier-Roche, for instance, held, without explanation, that the
  plaintiff‟s claims had expired under the applicable warranty. 2014 WL 1745050, at *8. And
  Brisson, in just one sentence, dismissed an implied warranty claim because the plaintiffs “failed
  to allege that they experienced the defect within the warranty period.” 602 F. Supp. 2d at 1231.
  Here, by contrast, the Plaintiffs have alleged that their CCs “experienced” the Defect at the time
                                                   6
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         D. Privity
         Volkswagen next argues that the Ohio, Georgia, and North Carolina Plaintiffs have failed
  to establish the requisite degree of privity with Volkswagen. See ECF 34 at 9. Here, again,
  Volkswagen is mistaken.
         In Ohio, “privity will lie between a manufacturer and an ultimate consumer if either the
  manufacturer is so involved in the sales transaction that the distributor merely becomes the
  manufacturer‟s agent or if the consumer is an intended third-party beneficiary to a contract.”
  Norcold, 154 Ohio App. 3d at 607. The Ohio Plaintiff has satisfied both tests. On the one hand,
  he has alleged that he was an intended third-party beneficiary of the transaction between
  Volkswagen and its authorized dealer. ECF 26 at ¶¶ 250-51. On the other, he has alleged facts
  supporting the plausible inference that the authorized dealers were Volkswagen‟s agents. Id. ¶¶
  24, 32, 197-212, 227-52.9
         In Georgia, “privity exists between a buyer and manufacturer” for purposes of an implied
  warranty claim “if the manufacturer extends an express warranty to the buyer.” Terrill v.
  Electrolux Home Prods., Inc., 753 F. Supp. 2d 1272, 1288 (S.D. Ga. 2010) (citing Chrysler
  Corp. v. Wilson Plumbing Co., Inc., 237 S.E.2d 402, 406 (Ga. Ct. App. 1977)).10 Although the


  of sale—that is, well within the warranty period. ECF 26 at ¶¶ 106-07, 181-82, 319-20, 507.
  And, because the question of merchantability under Missouri, Arizona, Georgia, and North
  Carolina law is determined at the time of sale, the Plaintiffs‟ allegations that their vehicles were
  defective when sold are sufficient, at this stage of the proceedings, to demonstrate that, at some
  point within the warranty period, the vehicles were not merchantable precisely because they were
  defective. See Ragland Mills, Inc. v. General Motors Corp., 763 S.W.2d 357, 360 (Mo. App.
  1989); Dietz, 141 Ariz. at 111-12.
  9
     Volkswagen cites Curl v. Volkswagen of America, 114 Ohio St. 3d 266, 272-73 (2007), to
  support its view that Ohio has eliminated the agency exception to the privity requirement. ECF
  34 at 9 n.9. But Curl said no such thing. Instead, Curl held only that the plaintiff had failed in his
  complaint to plead the existence of an agency relationship. 114 Ohio St. 3d at 272-73. In this
  respect, Curl rather supports the Plaintiffs‟ view. After all, Curl‟s holding—that the plaintiff
  should have pled the agency exception in his complaint—presupposes the availability of the
  agency exception. In any case, the Ohio Plaintiff has averred that Volkswagen‟s distributors are
  agents of Volkswagen. ECF 26 ¶¶ 24, 32, 197-212, 227-52.
  10
     Volkswagen cites to Monticello v. Winnebago Indus., Inc., 369 F. Supp. 2d 1350, 1361 (N.D.
  Ga. 2005), which states a contrary view. ECF 34 at 9. But the defendant in Terrill likewise cited
  Monticello for the proposition that, under Georgia law, a manufacturer‟s extension of an express
  warranty does not satisfy the privity element of an implied warranty claim. After reviewing the
  state of Georgia law, the Terrill Court refused to follow Monticello. This Court should follow the
  well-reasoned decision in Terrill and similarly reject Volkswagen‟s reliance on Monticello.
                                                    7
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  Georgia Plaintiff purchased a pre-owned CC, Georgia law is clear that,”[w]hen a manufacturer
  expressly warrants to the ultimate consumer that the product will perform in a certain way or that
  it meets particular standards, privity with the ultimate consumer is deemed to exist.” Copy
  Techs., Inc. v. Mitsubishi Kagaku Imaging Corp., No. 14-CV-839, 2015 WL 13333501, at *4
  (N.D. Ga. 2015).11 Volkswagen unambiguously conveyed an express warranty to the ultimate
  consumers of CCs when, in the NVLW, it said: “The [NVLW] is automatically transferred
  without cost if the ownership of the vehicle changes within the Warranty period.” ECF 26 at ¶
  246. And, while it is undisputed that the Georgia Plaintiff purchased his CC outside of the
  “Warranty period,” that durational limitation is, as we have shown, unconscionable and should
  not be enforced. See § I.C., supra. Without that durational limitation, then, the NVLW conveyed
  its warranties to the CCs‟ ultimate consumers, including the Georgia Plaintiff—as a result of
  which, under Georgia law, “privity with the ultimate consumer is deemed to exist.” Copy Techs.,
  2015 WL 13333501, at *4.
         Finally, Volkswagen cites no case for its view that North Carolina does not recognize an
  “intended beneficiary” exception to the privity requirement.12 This omission is unsurprising: In
  North Carolina, “[i]f the third party is an intended beneficiary, the law implies privity of
  contract.” Coastal Leasing Corp. v. O’Neal, 103 N.C. App. 230, 236 (1991). Here, unlike the
  plaintiff in Kelly, the North Carolina Plaintiff has alleged that he is a third-party beneficiary to
  the transaction between Volkswagen and its dealer. ECF 26 at ¶¶ 250-51.13 As such, he has
  satisfied the privity requirements of North Carolina law.


  11
     Cf. Evershine Prods., Inc. v. Schmitt, 202 S.E.2d 228, 231 (Ga. Ct. App. 1973) (“[I]f a
  defendant is not the seller to the plaintiff-purchaser, the plaintiff as the ultimate purchaser cannot
  recover on the implied or express warranty, if any, arising out of the prior sale by the defendant
  to the original purchaser . . . . This does not mean, however, that there can be no warranties if
  the manufacturer or producer makes an express warranty to the ultimate consumer. This is
  commonly done in the sale of a number of items, such as automobiles and household appliances,
  etc.”) (emphasis added).
  12
     Volkswagen does cite to Kelly v. Georgia-Pacific LLC, an inapposite case where the court did
  not “address this state-law issue because [the plaintiff] d[id] not allege in the complaint that he is
  a third-party beneficiary to the contract[.]” 671 F. Supp. 2d 785, 797 (E.D.N.C. 2009).
  13
     While the North Carolina Plaintiff, like the Georgia Plaintiff, purchased a pre-owned CC, ECF
  26 at ¶¶ 111-12, we can see no reason why he is any less an intended beneficiary of the
  transaction between Volkswagen and its dealer than the original purchaser was. Put another way,
  to the extent that the warranties that flowed as a result of Volkswagen‟s sale of the CC to its
  dealer were for the benefit, not of the dealer (who never intended to drive the vehicle), but of the
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          E. Notice
          Volkswagen moves to dismiss the Georgia, Texas, and Missouri Plaintiffs‟ warranty
   claims for lack of notice. ECF 34 at 4-5, 9. But each of these states has adopted the U.C.C.‟s
   liberal requirement that the plaintiff do no more than provide the defendant with notice within a
   “reasonable time” of discovering the breach. U.C.C. § 2-607(3)(a).14 Notably, notice is a
   question of fact not susceptible to dismissal at the pleadings stage unless “there is no room for
   ordinary minds to differ about the proper conclusion to be drawn from the evidence.” See, e.g.,
   Lochinvar, 930 S.W.2d at 190; DynaSteel Corp. v. Black & Veatch Corp., 698 F. Supp. 2d 1170,
   1174 (W.D. Mo. 2010); DBI Distributors, 232 Ga. App. at 317. There is plenty of room for
   disagreement here.
          To begin with, under Georgia law, “service of a complaint satisfies the notice
   requirement if no prejudice to the defendant results.” Terrill, 753 F. Supp. 3d at 1287 (citing
   Wal-Mart Stores, Inc. v. Wheeler, 262 Ga. App. 607, 610-11 (2003)). Volkswagen does not deny
   that it was served with the Amended Complaint, and it has made absolutely no showing that it
   was prejudiced by any alleged lack of prior notice. In Georgia, that is the end of the matter.
          Volkswagen‟s motion to dismiss the Missouri Plaintiff‟s claim fares no better. The
   relevant Missouri statute says nothing more than that the plaintiff must provide notice within a
   “reasonable time.” Mo. Rev. Stat. § 400.2-607(3)(a). Notably, the statute does not specify what
   particular form the notice must take, does not impose restrictions on constructive notice, and
   does not require that the notice be provided prior to service of the complaint. Id. The statute‟s
   refusal to render compulsory the precise conditions Volkswagen now claims it requires should be
   dispositive here. SCALIA & GARNER, READING LAW, at 57-58 (“[T]he limitations of a text—what
   a text chooses not to do—are as much a part of its „purpose‟ as its affirmative dispositions.”).15


   CCs‟ ultimate consumers, the North Carolina Plaintiff is likewise an intended beneficiary of the
   warranties conveyed in that sale. This is particularly true with automobile sales, where secondary
   and tertiary transactions are a foreseeable—even expected—aspect of the market. To list but just
   one example of this phenomenon, all car manufacturers advertise, along with a vehicle‟s market
   price, its expected “residual value.” See, e.g., Autotrader, Calculate Your Vehicle’s Residual
   Value, https://www.autotrader.com/car-news/calculate-your-vehicles-residual-value-33113.
   14
      See, e.g., Lochinvar Corp. v. Meyers, 930 S.W.2d 182, 190 (Tex. App.—Dallas 1996); Jay V.
   Zimmerman Co. v. Gen. Mills, Inc., 327 F. Supp. 1198, 1204 (E.D. Mo. 1971); DBI Distributors,
   Inc. v. Beaver Computer Corp., 232 Ga. App. 316, 317 (1998).
   15
      Volkswagen cites no Missouri state court decision for the proposition that Missouri‟s notice
   statute requires pre-suit notice. Instead, Volkswagen cites an unpublished opinion from the
                                                    9
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          Finally, Volkswagen‟s claim that the Texas Plaintiffs failed to notify it of the Defect,
   ECF 34 at 4, ignores Texas law. Under Texas law, a buyer need only set forth “[a] general
   expression of [his] dissatisfaction” with the product to satisfy Texas‟ notice requirement.
   Lochinvar, 930 S.W.2d at 189. Here, Volkswagen directed CC owners to take their complaints to
   Volkswagen‟s authorized dealers and used those dealers as its agents. ECF 26 at ¶¶ 197, 231,
   234. Both Texas Plaintiffs followed Volkswagen‟s instructions and complained about the Defect
   to Volkswagen‟s authorized dealers. ECF 26 at ¶¶ 89-90, 171-72. The dealers then forwarded the
   Plaintiffs‟ complaints directly to Volkswagen. Id. ¶¶ 209-12. In sum, the Texas Plaintiffs have
   satisfied Texas‟ notice requirement here.16




   Western District of Missouri, which, after ignoring the plain text of the statute and injecting its
   own view of the statute‟s purpose and legislative history, held that the statute does require such
   notice. Budach v. Nibco, Inc., No. 14-CV-04324, 2015 WL 6870145, at *4-5 (W.D. Mo. 2015).
   But Budach violated the first principle of statutory construction, which is that courts must begin
   the interpretive exercise by giving meaning to the words of the statute itself. See, e.g., United
   States v. Great Northern Ry., 287 U.S. 144, 154 (1932) (Cardozo, J.) (“We have not traveled, in
   our search for the meaning of the lawmakers, beyond the borders of the statute.”); cf. FTC v.
   Bunte Bros., 312 U.S. 349, 350 (1941) (Frankfurter, J.) (“Spurious use of legislative history must
   not swallow the legislation so as to give point to the quip that only when legislative history is
   doubtful do you go to the statute. While courts are no longer confined to the language, they are
   still confined by it.”). More than that, Budach, which conceded that no Missouri court had ever
   ruled on this issue, acknowledged that the pre-suit notice requirement is not only “unfair,” but
   also illogical, calling its purported purpose of facilitating pre-suit litigation “more a trap than a
   meaningful tool to avoid protracted litigation.” 2015 WL 6870145, at *4. Either way, several
   other states with near-identical notice statutes have interpreted those statutes as imposing no pre-
   suit notice requirement. See, e.g., Bednarski v. Hideout Homes & Realty, Inc., A Div. of U.S.
   Homes & Properties, Inc., 709 F. Supp. 90, 94 (M.D. Pa. 1988); In re Ford Motor Co. E-350
   Van Prod. Liab. Litig. (No. II), No. 03-CV-4558, 2010 WL 2813788, at *65 (D.N.J. 2010)
   (noting that the filing of a complaint constituted sufficient notice under Georgia, Massachusetts,
   Michigan, New York, and Pennsylvania law). In fact, at least one federal court has held, two
   years after Budach, that Missouri‟s notice statute itself requires no pre-suit notice to a
   manufacturer that, like Volkswagen, did not sell the vehicle directly to the plaintiff. See In re
   FCA US LLC Monostable Elec. Gearshift Litig., No. 16-MD-02744, 2017 WL 5495091, at *26
   (E.D. Mich. 2017). For all of these reasons, this Court should reject Budach‟s reasoning here.
   16
      See Tex. Bus. & Com. Code § 1.202(d) (“A person „notifies‟ or „gives‟ a notice or notification
   to another person by taking such steps as may be reasonably required to inform the other person
   in ordinary course, whether or not the other person actually comes to know of it.”).
                                                    10
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          F. The Statute of Limitations
          Volkswagen contends that the warranty claims brought by the New Jersey, Ohio, Texas,
   Arizona, Virginia, and Louisiana Plaintiffs are barred by those states‟ statutes of limitations.17 In
   support, Volkswagen cites to each state‟s iteration of U.C.C. § 2-725,18 which provides that “[a]
   cause of action accrues when the breach occurs, regardless of the aggrieved party‟s lack of
   knowledge of the breach.” But Volkswagen ignores Section 2-725(4)‟s admonition that the
   U.C.C. “does not alter the law on tolling of the statute of limitations[.]” Because the U.C.C. does
   not abrogate state statute of limitations law, this Court must determine whether, and under what
   circumstances, these states permit the tolling of their respective statutes. As Volkswagen
   concedes, ECF 34 at 5, each of these states permits the tolling of its statute of limitations where,
   as here, the defendant fraudulently concealed the defect.19
          Noting that only “affirmative and active concealment” can toll a statute of limitations,
   Volkswagen contends that the Plaintiffs‟ allegations fail to meet the specificity requirements of
   Fed. R. Civ. P. 9(b). ECF 34 at 5-6. But the Amended Complaint meticulously avers that
   Volkswagen “affirmatively” and “actively” concealed the Defect when it (1) intentionally put
   misleading statements in the Owner‟s Manual and in the NVLW; (2) knowingly misled the
   Plaintiffs into believing that their tires were wearing for reasons having nothing to do with the
   Defect; and (3) directed its authorized dealerships to lie to the Plaintiffs about the causes of the

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      As a preliminary matter, the Eleventh Circuit has held that “a Rule 12(b)(6) dismissal on
   statute of limitations grounds is appropriate only if it is apparent from the face of the complaint
   that the claim is time-barred” because “[a] statute of limitations bar is an affirmative defense, and
   . . . plaintiff[s] [are] not required to negate an affirmative defense in [their] complaint.” La
   Grasta v. First Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004).
   18
      Louisiana has not adopted the U.C.C. Instead, it follows the Louisiana Law of Sales, LSA-
   C.C. Art. 2438 et seq. In any case, Volkswagen‟s reliance on LSA-C.C. Art. 2534(A) is
   misplaced since, by its own terms, that section applies only to actions in redhibition where the
   seller is not aware of the relevant defect. Here, by contrast, the Amended Complaint alleges that
   Volkswagen was aware of the Defect. ECF 26 at ¶¶ 196-226. Accordingly, the applicable
   Louisiana statute is LSA-C.C. Art. 2534(B), not LSA-C.C. Art. 2534(A). And, under LSA-C.C.
   Art. 2534(B), an action for redhibition must lie within “one year from the day the defect was
   discovered by the buyer.” Here, the Louisiana Plaintiff did file her lawsuit within one year of
   discovering the Defect. See Exhibit A (Decl. of Debbie Gray).
   19
      See, e.g., Foodtown v. Sigma Marketing Sys., Inc., 518 F. Supp. 485, 488 (D.N.J. 1980);
   Thornton v. State Farm Mut. Auto Ins. Co., Inc., No. 06-CV-00018, 2006 WL 3359448, at *6
   (N.D. Ohio 2006); Trigo v. TDCJ-CID Officials, No. H-05-CV-2012, 2010 WL 3359481, at *11
   (S.D. Tex. 2010); Acton v. Morrison, 62 Ariz. 139, 144 (1945); Newman v. Walker, 270 Va. 291,
   298 (2005).
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   premature tire wear they were experiencing. ECF 26 at ¶¶ 24-25, 32-34, 86, 95, 127, 163, 180,
   188, 224-25, 227-37, 253, 256. Given these specific allegations of Volkswagen‟s “affirmative”
   and “active” concealment, this Court should reject Volkswagen‟s suggestion that the various
   state statutes of limitations somehow bar the Plaintiffs‟ claims.20
           The relevant state statutes of limitations are also tolled by the doctrine of equitable
   estoppel. Volkswagen concedes that the doctrine of equitable estoppel applies to all but the Ohio
   and Arizona Plaintiffs. ECF 34 at 7. Even this limited challenge, though, should be denied. To
   begin   with,   under Ohio law, the question            of whether Volkswagen‟s         affirmative
   misrepresentations precluded the Plaintiffs from bringing their claims within the applicable
   limitations period is a question of fact that cannot be resolved on a motion to dismiss. See, e.g.,
   Helman v. EPL Prolong, Inc., 139 Ohio App. 3d 231, 245-46 (2000). And, under Arizona law,
   “[i]n instances involving equitable tolling, courts have recognized that, as a matter of equity, a
   defendant whose affirmative acts of fraud or concealment have misled a person from either
   recognizing a legal wrong or seeking timely legal redress may not be entitled to assert the
   protection of a statute of limitations.” Porter v. Spader, 225 Ariz. 424, 428 (Ct. App. 2010).
   Here, the Ohio and Arizona Plaintiffs have adequately alleged that Volkswagen‟s affirmative
   misrepresentations regarding the safety and reliability of their CCs prevented them from filing



   20
      Volkswagen relies on this Court‟s decision in Heuer, 2017 WL 3475063 (S.D. Fla. 2017), for
   the proposition that the Plaintiffs have failed to plead active concealment with the requisite
   particularity. ECF 34 at 6. But, as this Court noted, Heuer involved no allegations that Nissan
   took affirmative steps to defraud the public or the Heuer Plaintiff. To the contrary, Heuer‟s
   averment that “Nissan „instruct[ed] its dealers . . . not to replace the defective dashboards‟ . . .
   does not go beyond „inaction and nondisclosure[.]‟” 2017 WL 3475063, at *3. Even Heuer‟s
   allegation that Nissan falsely downplayed the dashboard defect failed to meet Rule 9‟s
   specificity requirement because, although “Heuer alleges what was said by Nissan‟s
   representatives in response to the news segment,” he “does not specifically allege who in
   particular made the statement, when the statement was made, or where the statement was made.”
   Id. at *4. Here, by contrast, the Amended Complaint specifically alleges that Volkswagen knew
   of the Defect, that Volkswagen affirmatively lied to the Plaintiffs about the causes of their
   premature tire wear, and that Volkswagen conspired with its authorized dealers by directing
   those dealers to falsely and fraudulently blame the Plaintiffs (or the tire manufacturers) for the
   premature tire wear. ECF 26 at ¶¶ 24-25, 32-34, 86, 95, 127, 163, 180, 188, 224-25, 227-37, 253,
   256. In addition, the Amended Complaint at least several discrete examples of affirmative
   falsehoods (“what”) made by Volkswagen representatives (“who”) in response to online
   complaints filed by CC owners at particular moments in time (“when”) and on specific websites
   (“where”). Id. ¶¶ 223(e), 223(k), 223(m), 223(o), 223(r), 223(u), 223(v).
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   their claims within the applicable limitations period. ECF 26 at ¶ 256. In Arizona and Ohio,
   those allegations are sufficient at this stage of the litigation.21
        II.        The Plaintiffs’ Common Law Fraud And Consumer Protection Claims
              Volkswagen asks this Court to dismiss the Plaintiffs‟ common law fraud and statutory
   consumer protection claims because, it says, (1) it did not know about the Defect; and (2) the
   Plaintiffs have not pled a causal nexus between its wrongdoing and their injuries. ECF 34 at 11-
   15. Volkswagen mischaracterizes the nature and extent of its own misconduct, ignores the
   Amended Complaint, and misstates the elements of statutory and common law fraud.22
              A.      Volkswagen knew about the Defect and actively concealed it
              “[A]llegations of knowledge and intent are not subject to the particularity requirement.”
   Cordell Consultant, Inc. Money Purchase Plan & Trust v. Abbott, 561 F. App‟x 882, 884 (11th
   Cir. 2014); see also Fed. R. Civ. P. 9(b). Thus, at most, the Plaintiffs need only plead sufficient
   facts for the Court to find it “plausible,” after “accept[ing] [the Plaintiffs‟] factual allegations as
   true and draw[ing] all reasonable inferences in [the Plaintiffs‟] favor,” that Volkswagen knew
   about the Defect. Quality Auto Painting Ctr. of Roselle, Inc. v. State Farm Indem. Co., 870 F.3d
   1262, 1270 (11th Cir. 2017). The Plaintiffs have easily met that standard.
              Volkswagen‟s supervision of and control over its dealerships was so pervasive that the
   dealerships were, for all relevant purposes, Volkswagen‟s agents. ECF 26 at ¶¶ 239-45. For
   instance, Volkswagen required CC owners to have their vehicles repaired only at Volkswagen



   21
      Volkswagen also argues that the Plaintiffs have not met the minimum pleading standard set
   forth in Fed. R. Civ. P. 8 because, it says, we have “lump[ed] the two Defendants together.” ECF
   34 at 6-7. But the Eleventh Circuit has made clear that pleadings fail to satisfy Rule 8 only when
   “they fail . . . to give the defendants adequate notice of the claims against them and the grounds
   upon which each claim rests.” Weiland v. Palm Beach Cty. Sheriff's Office, 792 F.3d 1313, 1320-
   21 (11th Cir. 2015) (citation omitted). The Amended Complaint adequately informs both
   Volkswagen entities that (1) both received notice, through various means, of the defective
   conditions of the vehicles they were selling in the United States; (2) both worked to conceal the
   Defect; and (3) both instructed their authorized dealers to lie to the Plaintiffs about the causes of
   their premature tire wear. ECF 26 at ¶¶ 209-237. There can be no lack of notice where, as here,
   the Amended Complaint clearly alleges that both defendants conspired and colluded with one
   another to perpetrate a sophisticated fraud. Kyle K. v. Chapman, 208 F.3d 940, 944 (11th Cir.
   2000) (“The fact that defendants are accused collectively does not render the complaint deficient.
   The complaint can be fairly read to aver that all defendants are responsible for the alleged
   conduct.”).
   22
      Volkswagen‟s state-specific arguments, ECF 34 at 15-20, fail for similar reasons.
                                                      13
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   dealerships, id. ¶ 197, and exercised extremely close supervision of—and control over—the
   repairs those dealerships performed, id. ¶¶ 197-212.23
          Beginning at least in 2010, thousands of CC drivers have taken their vehicles into a
   Volkswagen dealership to complain about improper and accelerated tire wear. Id. ¶ 200. A
   description of each of those thousands of complaints was logged into Volkswagen‟s database,
   along with the vehicle‟s then-current mileage. Id. ¶ 210. Moreover, Volkswagen‟s dealerships
   regularly contacted their Volkswagen regional service representatives about the improper and
   accelerated tire wear because only those representatives could authorize the dealers to provide
   repairs at no cost and because those representatives were the dealers‟ primary points of contact
   for learning about—and training to fix—problems with Volkswagen vehicles. Id. ¶¶ 205-07.
          The Amended Complaint quotes extensively from dozens of complaints filed with
   NHTSA by CC users. Id. ¶¶ 220(b), 220(c), 220(g), 220(i), 223(a), 223(d), 223(g), 223(h),
   223(m), 223(u), 223(v), 223(w), 223(x). Because every single CC manufactured and sold since
   2009—when Volkswagen first sold the car in the United States—suffers from precisely the same
   defect, id. ¶¶ 19-23, this Court may reasonably infer that Volkswagen was on notice of the
   Defect almost immediately after it began selling CCs in 2009.24
           The Amended Complaint identifies three different sources of consumer complaints about
   the Defect that, taken together, only begin to hint at the likely volume of complaints Volkswagen
   dealers received—and then reported to Volkswagen—about the Defect25: (1) the Amended
   Complaint identifies, by date and dealership, 22 instances in which one of the named plaintiffs
   him or herself reported the Defect to a Volkswagen dealer26; (2) the Amended Complaint alleges
   that Volkswagen carefully monitors complaints consumers file about Volkswagen vehicles with


   23
      For example, every consumer complaint received—or repair conducted—by a Volkswagen
   dealership was, pursuant to a Volkswagen directive, logged into Volkswagen‟s databases. Id. ¶
   209.
   24
      That Volkswagen received prompt notice of the Defect is further corroborated by reports that
   Volkswagen dealers were receiving complaints about the Defect as early as 2010 and 2011, id.
   ¶¶ 63-64, 157-59, 223(o); that Volkswagen itself was receiving similar complaints as of 2010, id.
   ¶ 220(l); and that complaints about the Defect were proliferating in online fora as early as 2011,
   id. ¶ 223(a).
   25
      The sheer number of these complaints raises at least a plausible inference that Volkswagen
   learned of the Defect from sources other than its dealers.
   26
      See ECF 26 at ¶¶ 73, 76, 80, 81, 83, 89, 99, 102, 116, 121, 123, 131, 132, 153, 159, 171, 175,
   177, 178, 192.
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   NHTSA,27 id. ¶ 219, and identifies 13 NHTSA complaints about improper and accelerated tire
   wear on Volkswagen CCs, such as an August 15, 2013, complaint that “my tires are getting used
   up, very rapidly as little as 2-3 months,” id. ¶ 220(a); and (3) the Amended Complaint alleges
   that Volkswagen monitors online fora for complaints about its vehicles, id. ¶ 222, quotes a
   specific instance in which Volkswagen responded to an online complaint about premature tire
   wear on a CC, id. ¶ 223(o), and identifies 37 different complaints—from a select smattering of
   online fora—about improper and accelerated tire wear on its CCs, id. ¶¶ 223(a)-(kk).
          Volkswagen‟s only response to these detailed allegations about its knowledge of the
   Defect is to quibble about the anonymity of the online complaints, ECF 34 at 14, and to label as
   “vague” the Plaintiffs‟ allegations about their own experiences, id. at 15. But Volkswagen‟s
   “knowledge” need only be alleged “generally,” Fed. R. Civ. P. 9(b), and the Plaintiffs have more
   than satisfied that low threshold here. See Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1237
   (11th Cir. 2008); McCabe, 948 F. Supp. 2d at 1366-67.
          B.      The Plaintiffs have adequately alleged causation
          Except for a few state-specific arguments discussed below, Volkswagen does not dispute
   that the Plaintiffs have adequately alleged their fraud and consumer protection claims based on
   its material omissions. As such, those claims can proceed solely on an omission theory.
   Nevertheless, Volkswagen argues that the Plaintiffs have not established causation or reliance
   with respect to the affirmative misrepresentations it made because, it says, the Plaintiffs have not
   alleged “pre-purchase, personal exposure to or reliance on” those misrepresentations. ECF 34 at
   12-13. Volkswagen is wrong for the following four reasons:
          First, Volkswagen‟s dealers relied on Volkswagen‟s false statements to deny warranty
   coverage for the improper and accelerated tire wear the Defect caused, thereby injuring the
   Plaintiffs by forcing them needlessly to pay out-of-pocket for repairs that should have been
   covered by the NVLW. Id. ¶¶ 29-32. The Plaintiffs likewise relied on Volkswagen‟s
   misrepresentations when, rather than insisting that Volkswagen cover the costs of the repairs
   pursuant to the NVLW, they agreed to pay for the repairs themselves. 28 Id. ¶¶ 33-34, 73-77, 88-
   90, 99-104, 120-24, 131-34, 153-54, 159-60, 171, 175-78, 191-93. Put simply, the affirmative

   27
     The National Highway Transportation and Safety Administration.
   28
      The Amended Complaint contains several specific examples of Volkswagen communicating
   these fraudulent statements to consumers via its authorized dealers. ECF 26 at ¶¶ 67, 74-83, 90,
   94, 100-01, 116, 121-26, 131, 140, 154, 160, 171, 177-78, 187, 193.
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   misrepresentations out of which the Plaintiffs‟ claims arise are not only the false statements
   Volkswagen included in its NVLW and in its warranty booklets, but also the false statements it
   made to both its authorized dealers, who relied on the misrepresentations to deny the Plaintiffs‟
   warranty claims, and to the Plaintiffs.29 In short, Volkswagen is responsible for the fraudulent
   statements it made—which it communicated to the Plaintiffs via its authorized dealers—both
   because its authorized dealers were its agents, id. ¶¶ 197, 234, 239-45, and because Volkswagen
   specifically intended for the Plaintiffs and other CC owners to rely on its misrepresentations. See,
   e.g., Restatement (Second) of Torts §§ 531, 533; Dobbs, THE LAW          OF   TORTS § 680 (2nd ed.
   2017) (“[T]he maker of a fraudulent representation should be liable not only to those persons he
   directly addressed or intended to influence, but also to the entire class of persons he intends or
   has reason to expect will rely upon the representations.”); W. Page Keeton, et al., PROSSER &
   KEATON ON THE LAW OF TORTS § 107, p. 743-45 (5th ed. 1984).30
          Second, “a promise may be considered fraudulent if, at the time it was made, the
   promisor had no intention of following through with the promise.” Wilson v. S&L Acquisition
   Co., L.P., 940 F.2d 1429, 1439 (11th Cir. 1991).31 The Plaintiffs have alleged that Volkswagen
   never intended to abide by the promises it made in its NVLW—promises to fix defects in the
   CCs. ECF 26 at ¶¶ 234-35. Given the obvious materiality of a new car warranty, the Plaintiffs‟
   reliance on the NVLW‟s promise can be inferred from the fact that they agreed to purchase their
   CCs in the first place. See, e.g., Michaels Building Co. v. Ameritrust Co., N.A., 848 F.2d 674,
   679 n.8 (6th Cir. 1988) (inferring reliance from seller‟s knowledge of a material term and
   buyer‟s agreement to enter into the contract).




   29
      No less significantly, the injuries the Plaintiffs have suffered as a result of Volkswagen‟s false
   statements are not only the inflated prices they paid for defective CCs, but also the substantial
   repair costs they incurred in reliance upon the fraudulent premise that their tire wear was caused,
   not by the Defect, but by their own erratic driving or faulty tires. Id. ¶ 38.
   30
      Accord Ernst & Young, L.L.P. v. Pac. Mut. Life Ins. Co., 51 S.W.3d, 573, 578 (Tex. 2001);
   Geernaert v. Mitchell, 31 Cal. App. 4th 601, 605 (1995); Woodward v. Dietrich, 548 A.2d 301,
   309 (Pa. Super. Ct. 1988).
   31
      Accord Restatement (Second) of Torts § 530, cmt. c; Wharf (Holdings) Ltd. v. United Int’l
   Holdings, Inc., 532 U.S. 588, 596 (2001); Scott Salvage Yard, LLC v. Gifford, 382 S.W.3d 134,
   138 (Mo. Ct. App. 20120); BTL COM Ltd. v. Vachon, 628 S.E.2d 690, 696-97 (Ga. Ct. App.
   2006); Wagner Trading Co., Inc. v. Tony Walker Retail Mgmt. Co., Inc., 277 A.D. 2d 1012, 1012
   (N.Y. App. Div. 2000).
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          Third, a manufacturer‟s failure to honor a warranty is either statutorily defined as a
   deceptive trade practice or else has been judicially interpreted to be a deceptive trade practice in
   California, Texas, New York, Pennsylvania, and Utah.32 The California, Texas, New York,
   Pennsylvania, and Utah Plaintiffs have alleged that Volkswagen failed to honor the NVLW. ECF
   26 at ¶¶ 89-91, 99-104, 130-34, 153-54, 191-93. As such, for those Plaintiffs at least, these
   breach-of-warranty allegations alone are sufficient to satisfy the causation element of their
   statutory claims.
          Finally, reliance is not even an element of the consumer protection statutes of Florida,
   Missouri, New Jersey, New York, Ohio, and Arizona.33 For those Plaintiffs, then, the Court can
   likewise reject Volkswagen‟s reliance argument out of hand.
          C.      The Louisiana Plaintiff’s LUTPA claim is neither untimely nor precluded
          Volkswagen‟s contention that the Louisiana Plaintiff‟s claim under the Louisiana Unfair
   Trade Practices and Consumer Protection Act (“LUTPA”), La. R.S. §§ 51:1401, et seq., is either
   time-barred or precluded is, for two reasons, misplaced.
          First, under Louisiana law, “[w]hen the tortious conduct and resulting damages continue,
   prescription does not begin until the conduct causing the damages is abated.” Benton, Benton &
   Benton v. La. Pub. Facilties Auth., 672 So. 2d 720, 723 (La. Ct. App. 1996). Here, Volkswagen
   has refused to acknowledge or fix the Defect, ECF 26 at ¶ 32; it repeatedly duped the Louisiana
   Plaintiff into paying for repairs that would not fix the Defect, id. ¶¶ 175-78; and the Louisiana
   Plaintiff‟s CC continues to suffer from the Defect, id. ¶ 179. Accordingly, the one-year
   prescription period on her Louisiana statutory claim has not yet run.
          Second, while Louisiana‟s Product Liability Act (“LPLA”), La. R.S. §§ 9:2800.52 et seq.,
   may be, as Volkswagen argues, the exclusive remedy for any property damage or personal injury
   32
      See McVicar v. Goodman Global, Inc., 1 F. Supp. 3d 1044, 1054 (C.D. Cal. 2014) (Unfair
   Competition Law); Tex. Bus. & Com. Code § 17.50(a)(2); Church & Dwight Co., Inc. v. Huey,
   961 S.W.2d 560, 568-69 (Tex. Ct. App. 1997); People by Koppell v. Empyre Inground Pools
   Inc., 227 A.D.2d 731, 733 (N.Y. App. Div. 1996); 73 P.S. § 201-2(4)(xiv); Utah Code § 13-11-
   4(j)(ii).
   33
      See Carriuolo v. General Motors, Co., 823 F.3d 977, 984 (11th Cir. 2016) (Florida); Hess v.
   Chase Manhattan Bank, USA, N.A., 220 S.W.3d 758, 774 (Mo. 2007); Gennari v. Weichert Co.
   Realtors, 148 N.J. 582, 607, 691 A.2d 350, 366 (1997); Koch v. Acker, Merrall & Condit Co., 18
   N.Y.3d 940, 941, 967 N.E.2d 675, 676 (2012); Guth v. Allied Home Mortg. Capital Corp., 2008-
   Ohio-3386, 2008 WL 2635521, at *3, *7 (Ohio Ct. App. 2008); Siemer v. Assocs. First Capital
   Corp., No. 97-CV-281-TUCJMRJCC, 2001 WL 35948712, at *3 (D. Az. 2001).

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   caused by a defective product, it is not the exclusive remedy for the economic costs of fixing the
   defective product itself. See Southwest La. Hosp. Ass’n v. BASF Const. Chems., LLC, 947 F.
   Supp. 2d 661, 685 (W.D. La. 2013). Therefore, the Louisiana Plaintiff‟s LUTPA claim, which is
   premised only on the loss of her own CC‟s value and on the costs she expended in attempting to
   fix her CC, is not precluded by the LPLA. ECF 26 at ¶¶ 174-78, 469. Moreover, no part of the
   LPLA purports to stand as the exclusive remedy for intentional misrepresentations that cause a
   consumer to pay for improper repairs that do not actually fix the defect. Id. ¶¶ 174-78.
          D.      The Economic Loss Rule does not bar the Plaintiffs’ fraud claims
          Volkswagen mistakenly argues that Florida, Pennsylvania, and Missouri bar common law
   fraud claims based on economic loss. ECF 34 at 16. This is simply untrue. See Global Quest,
   LLC v. Horizon Yachts, Inc., 849 F.3d 1022, 1031 (11th Cir. 2017) (Florida law); Dixon v. Nw.
   Mut., 146 A.3d 780, 790 (Pa. Super. Ct. 2016)34; Web Innovations & Tech. Servs., Inc. v. Bridges
   to Digital Excellence, Inc., 69 F. Supp. 3d 928, 933-34 (E.D. Mo. Nov. 19, 2014).
          E.      The California Plaintiff’s statutory and common law fraud claims are viable
          The California Plaintiff purchased a certified, pre-owned CC with only 8,000 miles on it
   from a Volkswagen dealer, which, following Volkswagen‟s directions, never disclosed the
   Defect to him. ECF 26 at ¶¶ 24-25, 32-33, 128-29. The California Plaintiff repeatedly
   complained to the dealership about excessive noise emanating from his tires, but, following the
   script Volkswagen had given it, the dealership failed to disclose the Defect. Id. ¶¶ 131-134.
   Instead, the California Plaintiff was charged $1,000 for a new set of tires, which did not fix the
   Defect. Id. ¶¶ 23, 134.
          Volkswagen argues that the California Plaintiff‟s common law fraud claims—as well as
   his claims under California‟s UCL35 and FAL36—fail because, it says, he did not allege that (1)
   he would have heard the truth about the Defect if Volkswagen had disclosed it, or that (2) he
   would have acted any differently if he had heard the truth. ECF 34 at 17. But the California
   Plaintiff identifies precisely the dealerships that repeatedly failed to tell him about the Defect,


   34
      Volkswagen relies exclusively on outdated and non-binding federal cases that have been
   repeatedly rejected by the Pennsylvania state courts and which some federal district courts have
   likewise begun to disavow. See In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp. 3d
   372, 435 (S.D.N.Y. 2017); Dixon, 146 A.3d at 790.
   35
      California‟s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq.
   36
      California‟s Fair Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq.
                                                   18
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   and he specifically alleges that he would not have bought his CC—or, at the very least, he would
   have paid far less for it—if he had known about the Defect. ECF 26 at ¶¶ 36, 374, 382. That is
   more than sufficient at this stage of the proceedings. See, e.g., Hinojos v. Kohl’s Corp., 718 F.3d
   1098, 1104-05 (9th Cir. 2013) (holding that allegation that plaintiff “would not have purchased
   goods in question absent th[e] misrepresentation” is “sufficient” to state claims under the UCL
   and FAL); Whiteley v. Philip Morris Inc., 117 Cal. App. 4th 635, 678, (2004) (finding that
   allegation that, but for misrepresentation, plaintiff would not have purchased product, was
   sufficient to plead common law fraud in California).
          Similarly, Volkswagen‟s argument that the California Plaintiff‟s statutory fraud claims
   under the UCL and FAL should be dismissed because he has adequate remedies at law is
   premature. ECF 34 at 17. To begin with, plaintiffs may plead claims for relief in the alternative.
   Fed. R. Civ. P. 8(a)(3). Moreover, Volkswagen has sought dismissal of the California Plaintiff‟s
   common law claims—a motion which, if successful, would mean that, in fact, he has no
   adequate remedy at law. This Court should not dismiss his alternative equitable claims now. See
   Botting v. Goldstein, No. 15-CV-62113, 2015 WL 10324134, at *4 (S.D. Fla. 2015) (“[U]ntil or
   unless an adequate remedy at law is proved, dismissal of Plaintiffs‟ claim is premature.”).
          F.      The Georgia Plaintiff has stated a Georgia common law fraud claim
          The Georgia Plaintiff purchased his CC based on a Volkswagen dealership‟s false
   representation that it was free of any defects. ECF 26 at ¶¶ 139-41. As discussed, Volkswagen
   directed its dealers to make these representations. See id. ¶¶ 24-25, 32. Thus, Volkswagen‟s
   assertion that the Georgia Plaintiff‟s common law fraud claim should be dismissed because it had
   “no relationship” with—and, therefore, no duty to—him, ECF 34 at 18, should be rejected. See,
   e.g., Squish La Fish, Inc. v. Thomco Specialty Prods., Inc., 149 F.3d 1288, 1291-92 (11th Cir.
   1998) (applying Georgia law).37
          G.    The Ohio and Utah Plaintiffs’ statutory claims may proceed on a classwide
                basis
          Volkswagen asks this Court to find that the Ohio and Utah Plaintiffs‟ statutory claims
   cannot proceed on a class basis because, it says, they have not met certain state-imposed
   requirements for the maintenance of a class action. ECF 34 at 18-19. This argument should not
   detain this Court long. To begin with, the law in this Circuit is clear that state-imposed

   37
     The Georgia Plaintiff does not contest Volkswagen‟s motion to dismiss his claim under
   Georgia‟s Uniform Deceptive Trade Practices Act (Count 11).
                                                   19
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   requirements for the maintenance of a class action simply do not apply in federal court. See Lisk
   v. Lumber One Wood Pres., LLC, 792 F.3d 1331, 1334-38 (11th Cir. 2015).38 No less
   significantly, the Ohio and Utah Plaintiffs have alleged that Volkswagen (1) knew about the
   Defect but nevertheless failed to disclose it, ECF 26 at ¶¶ 24-33, 196-225; (2) lied about the true
   cause of the improper and accelerated tire wear the Plaintiffs were experiencing and instructed its
   dealers to do the same, id. ¶¶ 24-26, 121-24, 193; and (3) violated its NVLW by failing to fix the
   Defect, id. ¶¶ 121-24, 192-93. Volkswagen had “notice” that each of these actions violated the
   relevant consumer protection statutes.39
          H.       The Florida and Ohio Plaintiffs’ consumer protection claims are timely
          The Florida and Ohio Plaintiffs purchased new CCs from Volkswagen dealers in 2011.
   ECF 26 at ¶¶ 60, 118. Both complained repeatedly—and within the relevant statute of
   limitations—to their dealers about excessive noise and premature tire wear. Id. ¶¶ 64, 121, 123.
   But, following Volkswagen‟s instructions, those dealers lied to the Plaintiffs about the true cause
   of the improper and accelerated tire wear they were experiencing. Id. ¶¶ 60-67, 121-26. Because
   Volkswagen‟s fraudulent concealment of the Defect tolled the statute of limitations for both
   Plaintiffs, their statutory claims are timely. See, e.g., In re Takata Airbag Prods. Liab. Litig., 193
   F. Supp. 3d 1324, 1346 (S.D. Fla. 2016); Phelps v. Lengyel, 237 F. Supp. 2d 829, 836 (N.D.
   Ohio 2002).40
                                               Conclusion
   For the foregoing reasons, the Plaintiffs respectfully submit that, except as to Counts 11 and 20,

   this Court should deny Volkswagen‟s motion to dismiss.


   38
      Volkswagen‟s argument on this point relies exclusively on cases that directly conflict with the
   Eleventh Circuit‟s binding opinion in Lisk. See ECF 34 at 18-19.
   39
      See Ohio Rev. Code § 1345.02(B)(1); Utah Admin. Code § 152-11-3(B)(5); Keel v. Toledo
   Harley-Davidson/Buell, 920 N.E.2d 1041, 1044-46 (Ohio Ct. App. 2009) (holding that it was a
   deceptive practice to tell buyer that a vehicle is free of defects when it was not); Utah Code § 13-
   11-4(j)(ii) (deceptive trade practice to “fail[] to honor a warranty or a particular warranty term”);
   id. §§ 13-11-4(2)(a), 13-11-4(2)(b); State ex rel. Div. of Consumer Prot. v. GAF Corp., 760 P.2d
   310, 313 (Utah 1988) (misstatements about quality of goods sold violates the Act).
   40
      The North Carolina Plaintiff does not contest Volkswagen‟s motion to dismiss his NCUDTPA
   claim (Count 20). See ECF 34 at 19-20.




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   Dated: February 26, 2018           Respectfully Submitted,

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                                        CERTIFICATE OF SERVICE

           I hereby certify that, on February 26, 2018, I caused the foregoing document to be served by

   electronic mail on all Counsel of record for all Defendants as set forth on the attached Service List.



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                                               SERVICE LIST
                           US District Court, Southern District of Florida
                             Case No. 17-cv-23033-SCOLA-TORRES
                      Lila Wilson, et al. v. Volkswagen Group of America, Inc.


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